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Cholera, Kuntal (CIV)

From:                              Curtis, Angela H - Eastern Area, PA <angela.h.curtis@usps.gov>
Sent:                              Wednesday, November 4, 2020 3:14 PM
To:                                Garrett, Lisse - Southern Area, TX
Cc:                                Costello, Timothy R - Southern Area, TX;

Subject:                           Urgent Messaging for Distribution

Importance:                        High


Good afternoon

Please forward to all Postmasters, Stations Managers, and all operations managers ASAP.

As a reminder please ensure that all ballots in your office’s possession are delivered to appropriate election officials by
no later than 5 pm today. Additionally any local ballots delivered to the post office yesterday or earlier should bypass
the ordinary processing system and sent for delivery to local election offices for receipt by no later than 5:00 PM local.

This email reminder is in accordance with a court order.

Thanks

Angela Curtis
Vice President Retail and Post Office Operations




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